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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 UNITED STATES OF AMERICA,                       )
                                                 )
       Plaintiff,                                )
                                                 )
 v.                                              )     Case No. 4:24CR00308 HEA
                                                 )
 RONALD SIMPSON,                                 )
                                                 )
       Defendant.                                )

                        PRELIMINARY ORDER OF FORFEITURE

       WHEREAS, Defendant Ronald Simpson has pled guilty to Count I of the Information

charging the offense of Wire Fraud, in violation of Title 18, United States Code, Section 1344;

       WHEREAS, the Information also alleged the forfeiture of any property, real or personal,

which constitutes or is derived from proceeds traceable to the offense alleged in Count I;

       WHEREAS, in the written Guilty Plea Agreement, Defendant agreed to the forfeiture of

the above property and the entry of a forfeiture money judgment at sentencing in the amount of

$2,188,704.20;

       WHEREAS, because the Government has not identified specific property warranting

forfeiture at this time, the Court may enter a Preliminary Order of Forfeiture describing the

property to be forfeited in general terms pursuant to Federal Rule of Criminal Procedure

32.2(b)(2)(C);

       AND WHEREAS, pursuant to Rules 32.2(b)(6) and (c)(1), to the extent that the

Preliminary Order of Forfeiture consists of a forfeiture money judgment and does not identify
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specific property to be forfeited, neither notice to third parties nor an ancillary proceeding is

required;

       ACCORDINGLY, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:

       1.         That the following property is hereby forfeited to the United States pursuant to

Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461:

any property, real or personal, which constitutes or is derived from proceeds traceable to the

offense of Wire Fraud.

       2.      That a forfeiture money judgment is entered against Defendant and in favor of the

United States in the sum of $2,188,704.20, and that Defendant is directed to pay that amount.

       3.      That pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure, the

United States is hereby authorized to conduct any discovery permitted by the Federal Rules of

Civil Procedure in order to identify, locate, or dispose of any property subject to forfeiture under

this order, including depositions, interrogatories, subpoenas, and requests for production.

       4.      That this Order will be amended under Federal Rule of Criminal Procedure 32.2(e)

in the event that specific property warranting forfeiture is identified.

       5.         That pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure and

Defendant’s consent, this Order is now final as to Defendant, and shall be made part of the sentence

and included in the judgment.

       6.      That this Court shall retain jurisdiction for the purpose of enforcing this Order and

permitting amendments hereto as set forth in Federal Rule of Criminal Procedure 32.2.
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     The Clerk is hereby directed to send copies of this order to all counsel of record and the

United States Marshal.


     So ordered this         day of                      , 2024.


                                                               ______
                                  HONORABLE HENRY EDWARD AUTREY
                                  UNITED STATES DISTRICT JUDGE




                                                3
